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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

               Plaintiff,

       -vs-                                                            CRIMINAL No. 00-557 LH

JAMES EARL MERIDYTH,

               Defendant.



                                  MEMORANDUM OPINION

       THIS MATTER comes before the Court on Defendant=s pro se Motion to Reduce Sentence,

deemed filed on July 28, 2011. See Order (ECF No. 478), filed Dec. 2, 2011. Having considered the

Motion, the memoranda submitted by counsel for the government and for Mr. Meridyth and by the

United States Probation Department, the record in this case, and the relevant law, and otherwise

being fully advised, the Court finds that the Motion is well taken in part and it will be granted in

part by a contemporaneously entered Order.



       On January 25, 2001, a jury found Defendant James Earl Meridyth guilty of conspiracy to

possess with intent to distribute more than 50 grams of cocaine base (“crack cocaine”) (Count I of

the Superseding Indictment (ECF No. 107), filed Sept. 21, 2000), possession with intent to distribute

more than 50 grams of cocaine base (Count V), and possession with intent to distribute less than 500

grams of a mixture containing cocaine (Count VI). Verdict (ECF No. 214), filed Jan. 25, 2001. At

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the sentencing hearing on March 13, 2003, the Court found that Defendant’s total offense level was

thirty-eight and his criminal history category V, resulting in a guideline imprisonment range of 360

months to life for the cocaine base convictions in Counts I and V. Given the statutory maximum

sentence of 20 years for Count VI, the guideline imprisonment range for the cocaine charge was 240

months. The Court sentenced Defendant to 360 months for each of the crack cocaine convictions

and 240 months for the cocaine conviction, with the sentences to be served concurrently.

       Defendant did not request resentencing under the initial retroactive amendments to the crack

cocaine sentencing guidelines. He does so now, however, pursuant to the more recent amendment.

Applying both amendments to the cocaine base guidelines, Defendant=s total offense level now is 34,

which combined with a criminal history category of V results in a guideline imprisonment range of

235 to 293 months for Counts I and V and a range of 235 to 240 months imprisonment for Count VI.



       As a general matter, federal courts do not have authority to “‘modify a term of imprisonment

once it has been imposed.’” Freeman v. United States, ___ U.S. ___, 131 S. Ct. 2685, 2690 (2011)

(plurality opinion) (quoting 18 U.S.C. ' 3582(c)). Section 3582 further provides, however, that a

court may modify a term of imprisonment “in the case of a defendant who has been sentenced to a

term of imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission . . . .” 18 U.S.C. ' 3582(c)(2). In 2007, the United States Sentencing

Commission amended the guidelines to reduce the offense level for possession of cocaine base by

two levels and directed that the amendment be applied retroactively. See, e.g., United States v.

Lucero, 713 F.3d 1024, 1025 (10th Cir. 2013). The Commission again lowered the guidelines




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provisions pertaining to crack cocaine on November 1, 2011, retroactively implementing the Fair

Sentencing Act. See, e.g., United States v. Wilkerson, 485 F. App’x 318, 320 (10th Cir. 2012).

       The court “may reduce a defendant's sentence if, after considering the applicable factors in

18 U.S.C. § 3553(a), ‘such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.’” United States. v. Price, 486 F. App’x. 727, 731 (10th Cir. 2012) (quoting

18 U.S.C. § 3582(c)(2)).      The statutory factors to be considered include “the nature and

circumstances of the offense and the history and characteristics of the defendant,” and the need for

the sentence “to reflect the seriousness of the offense, to promote respect for the law, . . . to afford

adequate deterrence,” and “to protect the public from further crimes of the defendant.” 18 U.S.C.

§ 3553(a). Additionally, “the relevant Sentencing Commission policy statement instructs the court

to consider ‘the nature and seriousness of the danger to any person or the community that may be

posed by a reduction in the defendant’s term of imprisonment.’” United States v. Lindsey, 527 F.

App’x 700, 703 (10th Cir. 2013) (quoting U.S.S.G. § 1B1.10, cmt. n.1(B)(ii)). The court also “‘may

consider’ the defendant’s post-sentencing conduct.” United States v. Osborn, 679 F.3d 1193, 1195

(10th Cir. 2012) (quoting U.S.S.G. § 1B1.1.0, cmt. n.1(B)).



       While agreeing that the amended guidelines apply to Defendant, making him eligible for a

sentence reduction, the United States maintains that the Court should decline to reduce his sentence.

It first argues that Mr. Meridyth’s extensive criminal history, which includes criminal convictions

for the three serious drug trafficking crimes at issue here and prior convictions for burglary, assault,

and fleeing a police officer, shows that he is a danger to the community. The government

additionally cites Defendant’s history of contacts with law enforcement that did not result in

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convictions, including arrests for assault, stabbing, felon in possession of a firearm, a drive-by

shooting involving an Uzi-type machine gun, and allegations he was involved in a scheme trading

federal food coupons for cash, cocaine, and firearms.

         The United States additionally contends that reducing Defendant’s sentence would result in

unwarranted sentencing disparities with two of his codefendants, Daryl Wayne Wilkerson and

Edward James Oliver, both of whom it describes as having worked as runners for Mr. Meridyth and,

arguably, were far less culpable than he.1 Finally, the government cites to a number of cases in

which courts denied defendants reductions in their sentences for reasons including the nature of their

original criminal conduct, previous criminal conduct, and post-sentencing behavior while

incarcerated.

         In his response, Mr. Meridyth first maintains that his sentence should be reduced to redress

the unfair disparity between crack cocaine and powder cocaine sentences, which now has been

corrected by Congress and the Sentencing Commission. He also contrasts his efforts toward self-

improvement during his incarceration2 to the behavior of the “violent and dangerous prisoners” in

the cases cited by the government. Defendant further claims that his offense conduct was non-

violent, again in contrast to the “very violent offense conduct” involved in the cases relied upon by



1 Mr. Wilkerson was sentenced as a career offender to 360 months imprisonment and is ineligible for any reduction
under the amended crack guidelines. See Wilkerson, 485 F. App’x 318. Mr. Oliver was sentenced to 228 months
imprisonment, pursuant to a FED. R. CRIM. P. 11(c)(1)(C) plea agreement, and also is ineligible for any sentence
reduction. See Mem. Op. and Order (ECF No. 519), filed Feb. 27, 2013; Order (ECF No. 530-1), filed Aug. 29, 2013
(dismissing appeal, per voluntary withdrawal by defendant).
2 In 2008, Mr. Meridyth earned certificates for completion of a welding qualification test, outstanding performance as
a football coach, and completion of a stress management program and in 2010 he completed a course to obtain a
commercial driver’s license. Defendant subsequently supplemented the record regarding his post-sentencing efforts
toward self-improvement with copies of certificates earned in 2013 for completion of Basic Business Math, Networking
for Success, and Political Science; participation in yoga class, and completion of Anger Management, Coping with Anger
Management, and Thinking for Good: Changing Antisocial and Criminal Thinking workbooks. Letter (ECF 531), filed
Aug. 29, 2013. The October 28, 2013, Second Updated Memorandum provided by the United States Probation
Department indicates that Defendant also completed the following programs and classes: Land Management Tech
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the government.3 He challenges the government’s contention that he is a danger to the community,

saying it is based on faulty information; specifically, he asserts that he was not arrested for assault,

stabbing, a drive-by shooting, and trading food stamps. He contends that “decades-old” matters

should not warrant a significantly longer sentence than that currently called for under the guideline

amendments and that they do not outweigh his recent and on-going self-improvement efforts and his

current conduct in prison.4 Finally, he maintains that a reduction in his sentence, as provided by the

amended guidelines, would not create any unwarranted sentencing disparity between him and his

codefendants, both of whom are career offenders.5



         The Court agrees that Defendant is eligible for a sentencing reduction under the amendments

to the crack sentencing guidelines. It does not agree, however, that he should receive a full

reduction in sentence as he proposes or no reduction as advocated by the United States.

         As an initial matter, the Court does not credit Defendant’s argument that his sentence must

be reduced to ameliorate the unwarranted and unjust disparity between powder and crack cocaine

sentences. While it is true that both the Sentencing Guideline Commission and Congress have



Explore in July 2004 and Positive Voices, May 30, 2013, through October 24, 2013.
3 Defendant argues that his case is not comparable those cited by the United States, in that he did not engage in sexual
misconduct in prison and has not incited prison riots or presented a serious hazard to prison security. He also
distinguishes the facts of his case in that his offense conduct was non-violent and his criminal history points were not
“near-record,” and he was sentenced to concurrent, not consecutive, sentences at the low end of his guideline range, not
the high end.
4 Defendant insists that his conduct in prison contains “a small number of minor infractions . . . clustered in time near
his arrival . . . in 2003.” He also points to the “relatively positive review” of his conduct by prison officials, apparently
referring to his caseworker’s description of his conduct in prison as “relatively decent,” Probation Mem., Oct. 26, 2011,
at 5.
5 As noted supra note 1, Mr. Oliver was sentenced pursuant to a Fed. R. Crim. P. 11(c)(1)(C) agreement. Although
the parties and the Court originally believed he was a career offender, during proceedings on his Motion for Modification
or Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (Guideline Amendment No. 750) it was determined that he
in fact was not and never had been a career offender. While his two prior felony convictions for simple possession of
narcotics did not qualify for purposes of establishing career offender status, they were, however, predicate offenses for
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addressed this disparity subsequent to Mr. Meridyth’s original sentencing, it is beyond debate that

the Court must follow the statutory and guideline requirements applicable to any retroactive

resentencing.

        The Court also questions Defendant’s assertion that the government’s position that he is a

danger to the community is based on faulty information. Specifically, he argues he was not

“arrested” for assault, stabbing, a drive-by shooting, and trading food stamps. As detailed in the

Presentence Report, Mr. Meridyth’s criminal history includes prior convictions for 1) Minor in

Possession of Alcohol While Operating a Motor Vehicle and Possession of Marijuana (arrested

March 15, 1985); 2) Noises Expressly Prohibited (arrested August 20, 1988); 3) Burglary with

Habitual Offender Enhancement (arrested February 16, 1988); 4) Possession of Marijuana (arrested

July 13, 1989); 5) Assault (arrested April 28, 1992); 6) three separate counts of Theft, two of which

were combined (arrested September 4 and October 10, 1992); 7) Resisting, Evading, or Obstructing

a Police Officer (arrested September 19, 1992); 8) four counts of Unlawful Dealing in Food Coupons

for cash, Possession of Drug Paraphernalia and Attempted Felon in Possession of a Firearm (arrested

October 17, 1994); and 9) Fleeing Police Officer (arrested April 1, 1999). Defendant’s conviction

for Noises Expressly Prohibited also included the charge of Battery Upon a Peace Officer, as he

struggled during the arrest and bit the officer in the arm. His Burglary with Habitual Offender arrest

and conviction also included charges of Commercial Burglary, Concealing Self on Private Property,

and Contributing to the Delinquency of a Minor. Finally, during his arrest for the Resisting,

Evading, or Obstructing a Police Officer conviction, Defendant was combative and stuck officers.




sentencing enhancements under 21 U.S.C. § 841(b)(1)(A), thereby exposing Mr. Oliver to the possibility of a mandatory
life sentence. See Mem. Op. and Order (ECF No. 519).
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        The Court further notes the Defendant’s criminal history included in the Presentence Report

that did not result in convictions: 1) a 1989 incident in which Defendant and two other men

repeatedly struck a man over the head and shoulders with chains; 2) a 1991 stabbing by the

Defendant of an individual in the abdomen and the shoulder; 3) Defendant’s arrest in July 1992 for

Seat Belts and Felon in Possession of a Firearm, a Titan .25 caliber pistol, charges to which the

District Attorney entered a Nolle Prosequi due to Defendant’s Motion to Suppress Evidence; 4) a

report by an individual to a police officer in September 1992 that Defendant fired several rounds

from an Uzi-type machine gun at him, officers subsequently located five spent rounds and holes in

the night club building, but the victim indicated he did not want to prosecute due to possible

retaliation by Defendant; and 5) in December 1993, Defendant was indicted on six counts of

Unlawful Dealing in Federal Food Coupons, two counts of Conspiracy to Commit Unlawful Dealing

in Federal Food Coupons, Trafficking in a Controlled Substance (cocaine), and Felon in Possession

of a Firearm; the Indictment was quashed for not having been delivered in adequate time; police

reports indicate that Defendant traded Federal Food Coupons for cash, cocaine, and guns.

        While Defendant discounts the import of his criminal past, asserting that conduct more than

two decades old does not outweigh his recent and on-going self-improvement efforts and his current

conduct in prison, the Court is not convinced that this past conduct is less relevant because of its age.

The criminal drug conspiracy for which Defendant now is imprisoned began on June 1, 1996. It is

clear that Defendant basically engaged in a pattern of criminal conduct for his entire adult life - up

until his arrest in this case in April 2000. Additionally, while his current convictions arguably may

not constitute crimes of violence, Defendant’s criminal history includes more than a few violent acts.




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       Defendant also has committed a number disciplinary infractions since his incarceration with

the Bureau of Prisons (“BOP”) in mid-2003, several of them involving violence: 1) Refusing to

Obey an Order in November and December 2003, 2) Assault without Serious Injury in January 2004,

3) Being in an Unauthorized Area in September 2004, and 4) two instances of Fighting with Another

Person in June 2011 and March 2012. While his BOP Case Manager in 2011 described Defendant’s

behavior as “relatively decent,” his current Case Manager reports that he has been discipline free

since March 1, 2012, and has “good rapport with staff and inmates.” Additionally, the Case

Manager reports that Defendant is working closely with psychology services regarding his

medication and self-improvement programming. He also has more than five years of work

experience in the UNICOR Factory and has begun formulating his release plan. Clearly, while Mr.

Meridyth’s pre- and post-sentencing behavior may not rise to the level of criminal conduct and

violence exhibited by many of the defendants in the cases cited by the government, it is of major

concern to the Court and heavily influences its determination of any reduction in his sentence.

       Finally, the Court is not convinced by either parties’ argument regarding possible sentencing

disparities between Mr. Meridyth and Codefendants Wilkerson and Oliver. While it is true that

neither of his codefendants qualifies for resentencing, as Wilkerson was a career offender and Oliver

was sentenced pursuant to a Rule 11(c)(1)(C) agreement, Mr. Meridyth’s attempts to distinguish his

behavior from theirs in this case is questionable. Defendant notes that Oliver was described as

“heavily” involved in cocaine distribution and that Wilkerson boasted that he could supply any

amount of crack cocaine and was described as “a major player in the organization.” What Mr.

Meridyth fails to acknowledge, however, is that he was found to be a leader or organizer of the

criminal activity, which involved a conspiracy of more than five persons. Sentencing Tr. 67:12-16

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(ECF NO. 425-4), filed ex parte Aug. 6, 2008 (Sealed United States’ Correction/Supplement to

United States Resp. to Def.’s Mot. to Vacate, Set Aside or Correct Sentence, Ex. 5). The Court is

similarly unconvinced, however, by the government’s description of Wilkerson and Oliver as merely

runners in the criminal organization.

       Regardless, “disparity among codefendants is not a consideration required by § 3553(a).”

United States v. Rojas, 531 F.3d 1203, 1210 (10th Cir 2008) (citing United States v. Verdin-Garcia,

516 F.3d 884, 899 (10th Cir.2008)) Rather, “§ 3553(a)(6) requires a judge to take into account only

disparities nationwide among defendants with similar records and Guideline calculations.” Verdin-

Garcia, 516 F.3d at 899 (citing United States v. Davis, 437 F.3d 989, 997 (10th Cir.2006); United

States v. Gallegos, 129 F.3d 1140, 1143 (10th Cir.1997)). Thus, “[a]lthough it is not improper to

consider co-defendant disparity, neither is it mandated.” Rojas, 531 F.3d at 1210 (citing United

States v. Smart, 518 F.3d 800, 804 (10th Cir.2008)). Furthermore, “‘disparate sentences are allowed

where the disparity is explicable by the facts on the record,’” United States v. Zapata, 546 F.3d

1179, 1194 (10th Cir. 2008) (quoting Davis, 437 F.3d at 997), such as “‘when sentences are

dissimilar because of a plea bargain,’” id. (quoting Gallegos, 129 F.3d at 1144)).

       Here, any disparity in sentences among the codefendants is explained by the record. While

Wilkerson was convicted by a jury of aiding and abetting the possession with intent to distribute five

grams or more of a substance containing cocaine base, his prior felony convictions for cocaine

trafficking and voluntary manslaughter qualified him as a career offender. Wilkerson, 484 F. App’x

at 320, 323. Although his original base offense level was 30 and the criminal history category V,

application of the career offender guidelines resulted in an offense level of 37 and criminal history

category VI, with a sentencing guideline range of 360 months to life. Id. at 320. The sentencing

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transcript reveals the Court’s “concern that Wilkerson had killed his wife and trafficked in drugs in

the past,” but it sentenced him at the low end of the guideline range to 360 months imprisonment,

with no departure or variance. Id. at 323.

       Codefendant Oliver, on the other hand, while erroneously believed to have been a career

offender, but also facing the possibility of a statutorily mandated life sentence, pleaded guilty to a

two-count Second Superseding Indictment charging conspiracy to possess with intent to distribute

more than 50 grams of cocaine base and possession with intent to distribute more than 50 grams of

cocaine base. The Court sentenced him to 228 months imprisonment on each count, to run

concurrently, as provided by the Rule 11(c)(1)(C) agreement.



       Having considered the record in this matter, including Defendant’s criminal history and

characteristics and his behavior in prison, along with the need for any sentence to promote respect

for the law, provide adequate deterrence, and protect the public from further crimes of the

Defendant, the Court finds that a full reduction in Mr. Meridyth’s sentence would be inappropriate.

On the other hand, the Court also finds that the circumstances of Defendant’s case do not rise to the

level of those relied upon by the government, such that no reduction in sentence should be granted.

Accordingly, the Court finds that a partial sentence reduction of Defendant’s sentence is appropriate

and Defendant’s sentence will be reduced to 300 months imprisonment by a contemporaneously

entered Order.



                                               __________________________________________
                                                SENIOR UNITED STATES DISTRICT JUDGE


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